           Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 1 of 35 PageID #: 36
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                                                                                            CALIFORNIA COURTS
           Appellate Courts Case Information                                                THE JUDICIAL BRANOH OFCALlFC»NIA



                                  4th Appellate District Divisicxa 3
                                                                                                         I Change court *

                                  Court data last updated: 11/26/20i4 10:38 AM

                                  Case Summary


                                  Trial Court Case:          FL895849
                                  Court of Appeal Case: G046026
                                  Division:
                                  Case Caption:             Perales v. Wilshire Restaurant Group
                                  Case Type:                CV
                                  Filing Date:               11/07/2011
                                  Oral Argument
                                  Date/Time:

                                 Cross Referenced Cases:

                                 No Cross Referenced Cases Found

                                 Click here to request automatic e-mail notifications about this case.

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           Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 2 of 35 PageID #: 37
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            Appellate Courts Case Information                                                    THE jUDiaAl BRANCH OF CAUFCWNIA



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                                    Courf data last updated: 11/26/2014 10:38 AM
                                    Partiss and Attorney
                                    Perales v, WHshire Restaurant Group
                                    Case Number G046026


                                                        Party                                           Attorney
                                    Azael Dythian Perales: Petitioner
                                    P.O, Box 501
                                    Fullerton, OA 92836-4)501                       Pro Per



                                    The Superior Court of Orange County
                                   : Respondent
                                    Hon. Glenn Mahler
                                    700 Civic Center Dr West                        Pro Per
                                    Santa Ana, CA 92701


                                    Wilshire Restaurant Group : Real
                                    Party in Interest



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           Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 3 of 35 PageID #: 38
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            Appellate Courts Case Information                                                         TMEJUDfCtM BRANCH OF CALIFORNIA



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                                    Court data last updated: 11/26/2014 10:38 AM
                                    Trial Court

                                    Perales v. WHshire Restaurant Group
                                    Case Number G046026


                                     Trial Court Name:                    Orange County Superior Court - Main
                                     County:                              Orange
                                    Trial Court Case Number:              FL895849
                                    Trial Court Judge:                    Mahler, Glenn
                                    Trial Court Judgment Date: 10/21/2011

                                    Click here to request automatic e-mail notifications about this case.



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           Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 4 of 35 PageID #: 39
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           Appellate Courts Case Information                                                    TOE jUDKXAL BRANCH OF CALIFORNIA



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                                  Court data last updated: 11/26/2014 10:38 AM

                                  Doclurt(Register of Actions)
                                  Perales v. Wiishire Restaurant Group
                                  Case Number G046026


                                                    Description                               Notes
                                  11/07/2011       Filed petition ^criminal and civil mandamus Petitionen
                                                   for writ of:       Azael Pythian Perales
                                  111/14/2011      Received             to California Superior(3ourt from
                                                   copy of:           petitioner
                                  111/23/2011      Order                 The petition for a writ of mandate Is
                                                   denying            DENIED. Rylaarsdam/O'Leary/Fybel
                                                   petition filed.
                                  11/23/2011       Case
                                                   complete.
                                  04/13/2012       Record                List 95. Box 611622178.
                                                   shipped to
                                                   records
                                                   center


                                 Click here to request automatic e-mail notifications about this case.




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                                  Perales v. Wiishire Restaurant Group
                                  Case Number G046026

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Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 6 of 35 PageID #: 41




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                        (E£JnmiiS!at0it an 3|iiiricml p^rfarmaitce
                          455 Solbett      A&cnite, ^mt? 14400
                            ^an Jfratictsca, OUA 04102-3660
                                         (415) 557-1200
                                      FAX (415) 557-1266
                                    Web Site: http'y/cjp.ca.gov


                                        June 18,2012




 Azael D.Perales
 P.O. Box 501
 FuIIerton, CA 92836

 Dear Mr. Perales:

        This letter is to acknowledge receipt of your recent complaint against a California
 judge(s). We are presently reviewing this information and you will be advised in writing,
 at a later date, of Ae Commission's action in this matter.


                                                  Very truly yours




                                                  Sarah Herbert
                                                  Secretary to Staff Counsel




                        Confidential under California Constitution,
                     Article VI, Section 18, and Commission Rule 102
Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 7 of 35 PageID #: 42




   STATE
   PERSONNEL
   BOARD

801 Capilol Mall Sawamento,CA958l4 ! 86S-844-8671|www..spb.ca.gov   :   ,    Go^^rno^ Edmund G. Brown Jr.
                                                                            Telephone: 916-653-0799
                                                                             Facsimile: 916-654-6055
                                                                                 TDD: 916-654-2360
January 18,2012

Azael Dythian Perales'
P.O. Box 501                 ■
Fullerton, CA 92836-0501

        Re: January 12, 2012, Complaint

Dear Azael Dythian Perales:

Your January .12, 2012, compiaint to Executive Officer, Suzanne Ambrose, of the
California State personnel Board, has been directed tp me for response. Our review of
materials submitted finds that action you request is outside the jurisdiction of SPB as
established by the Civil Service Act. SPB does not have the authority to enforce a
Superior Court order. Therefore, SPB will take no further action in this matter.

Sincerely,




                  i, Jr.
Merit Appedfs Section Chief
Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 8 of 35 PageID #: 43




                      City and County of San Francisco
                      Civil Grand Jury 2011-2012




 March 5,2012

Azael Dythian Perales
P.O. Box 501
Fullertonj CA 92836

       Re:     Communication with the 2011-2012 San Francisco Civil Grand Jury

Dear Mr.Perales:


Thank you for your recent communications with the 2011-2012 San Francisco Civil Grand Jury.
The Civil Grand Jury appreciates your communication and will take the matter under
advisement.


As you may know,proceedings ofthe Civil Grand Jury are confidential. Findings and
Recommendations ofthe Civil Grand Jury are published following submission to and approval
by the Presiding Judge ofthe Superior Court. You may find reports published by the Civil Grand
Jury on its website at http://sfsuperiorcourt.org/index.aspx?page=212.

Should.the Grand Jury require additional information, we may contact you. Please be advised
that any such contact would also be confid^tial under law.

Thank you again for contacting the 2011-2012 San Francisco Civil Grand Jury.

Very truly yours.




Umung Varma
Foreperson
2011-2012 San Francisco Civil Grand Jury




                        Superior Court of Callfomia, San Francisco County
                                    Civic Center Courthouse
                                400 McAllister Street, Room 008
                                  San Francisco, CA 94102
                                        (415)551-3605
  Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 9 of 35 PageID #: 44




                                  ORANGE COUNTY GRAND JURY
                         700 CIVIC CENTER DRIVE WEST'SANTA ANA,CALIFORNIA 92701 • 714/834-3320
                                                             www.ocgrandjury.org* FAX 714/834-5555

 March 6, 2012



Azael D. Perales
P.O. Box 501
Fullerton, CA 92836

Dear Mr. Perales: .

The 2011-2012 Orange County Grand Jury received your correspondence. Your
concerns will be carefully reviewed and considered.

The Grand Jury welcomes communication from members of the community. The
Grand Jury will review the information provided in your letter. If the matter is within
the legally permissible scope of its review powers and of sufficient priority to warrant
further inquiry, it may confidentially contact those individuals who are able to provide
information.

If, on the other hand, a matter Is determined not to be within the Grand Jury's
authority to investigate (e.g., a matter involving the federal or state government
rather than local government, or a private dispute), or not of the highest priority
considering the competing demands on the Grand Jury, there will be no further
review by the Grand Jury.

The 2011-2012 Grand Jury appreciates and thanks you for your interest In its work
and for your correspondence.


Sincerel




       Baker 111
■Foreman
2011-2012 Grand Jury



RBB:dv
              Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 10 of 35 PageID #: 45




 Don Prange Sr.                                  Superior COurt of California
-Foreman         ■                                                    County of Sacramento
                                                                             Grand Jury
 Richard Barbar
       >
                                     March 6, 2012
 Terry Carter

. Nancy Davenport                    AzaelPerales
                                     P.O. Box 501       ,
 Robert DeVoe                        Fullerton, CA 92836

 Lois Graham
                                    Dear Mr. Perales:
 Donald Katz
                                    On behalf of the Sacramento County Grand'Jury, I acknowiedge the receipt
 Richard Keilough                   of your complaint.

 Paul McArnis
                                     The complaint submitted does not fall within the Sacramento County
                                    ■jurisdiction. The Grand Jury reviews all inquiries to determine whether to
                                     conduct an investigation or take any action. While the Jury takes each
 Patricia McCauley
                                    request seriously, not all can be investigated because of legal restrictions,
                                    resource limitations, or a variety of other reasons. By law, the work of the
 Ralph Wlerrili                     Grand-Jury is confidential and we cannot respond individually regarding
                                    what action, if any, is decided upon with respect to your complaint. If your
 Wiiiiam Motmans                    request Is investigated, you may or may not be contacted by one of our
                                    committees. In all cases in which' the Grand Jury takes formal action, its
Bonnie Parrett                      concerns knd recommendations will appear in its final report issued by June
                                    30-each year.
Marilyn Siefker
                                    Thank you for taking the time to contact our office.
Kathryri Smith
                                    Sincerely,
Jean Thoutte                             " /-i

Robbie Waters
                                    DOti^ALD PRANGE SR.,              rema

Anne Wolfe                          2011-2012 Sacramento County^Grand Jury

Karen Young                         DP/bc




           GJ/1-2 (rev, 09.16.10)                       Non Jurisdicfion Letter

                                    (Mailing Address) 720 Ninth Street • Room 611 • Sacramento, CA 95814
                                          (916)874-7559 • FAX (916) 874-8025 • .www.sflcgrandjury.org
   Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 11 of 35 PageID #: 46




                                          Alameda County

                                      (Bx^nh'^xtrxj
1401 Lakeside Drive                                                         .              510.272.6259
Suite 1104                                                                             fax 510.465,9647
Oakland,CaHfornia 94612                             .   .    .                  wwwiacgov.org/grandjury



                                          March 7,2012

       Mr. Azael Perales
       PO Box 501
       Fullerton, OA 92836-0501

       Dear Mr.Perales:

             The Alameda County Grand Jury received, your complaint on
       March 7, 2012. The Grand Jury welcomes communication from the public
       because citizens can provide valuable information to the Grand Jury regarding
       matters for investigation.
               The information you have provided will be carefully reviewed to assist the
      Grand Jury in deciding what action, if any, to take. If the matter is determined
      not to be within the Grand Jury's authority to investigate (e.g:, a matter involving
      federal or state agencies or institutions, courts or court decisions, or a private
      dispute), there will be no further contact by the Grand Jury. If the matter is
      within the legally permissible scope of the Grand Juries investigative powers and
      warrants further investigation, the Grand Jury will confidentially contact those
      individuals pr entities who may be able to provide additional information. •
           ^ By law, the Gr^d Jury is precluded from communicating the results ofits
     investigation, except iii one of its formal public reports. All communications are
     considered, but may not result in any action or report by Ae Grand Jury.
     Sincerely, .         .                   .


    C^^CyCUuUL
     RUSSELL G. MILLER,Foreman
     2011-2012 Alameda County Grand Jury

    end
Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 12 of 35 PageID #: 47



                                      County of Los Angeles
                                      CIVIL GRAND JURY
                                 CLARA SHORTRIDGE FOLTZ CRIMINAL JUSTICE CENTER
                210 WEST TEMPLE STREET • ELEVENTH FLOOR • ROOM 11-506•LOS ANGELES,CALIFORNIA 90012
                                     TELEPHONE (213)893-1047• FAX (213)229-2595
                                            http://www.grandjury.co.la.ca.us/




   March 8,2012


   Azael Dythian Perales
   P.O. Box 501
   Fullerton, California 92836


   Dear Mr. Perales:


   Your letter to the 2011-2012 Los Angeles County Civil Grand Jury, dated March 2,2012,
   has been received. The Grand Jury's review ofthe issues raised in your letter may or
   may not result in an investigation, but in any event,this letter will probably be the only
   written response you will receive.

   Please do not contact the Civil Grand Jury by telephone or in writing to inquire about the
   status of your matter. The Grand Jury is prohibited by law from communicating the
   results of any investigation to you personally, althou^ a written report ofall Grand Jury
   investigations is available to the general public when published at the end ofJune.

   Please be advised that the Civil Grand Jury has no legal jurisdiction or authority to
   investigate federal agencies, state agencies, private entities, or the courts. Only local
   governments within Los Angeles County are subject to review by the Grand Jury.



   Sincerely,




   Staffto the Los Angeles County Civil Grand Jury
Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 13 of 35 PageID #: 48

                                                               Hall of Justice
GRAND JURY                                                     600 Union Ave
                                                          Falrftetd. California 94533
                                                               (707) 435-2575
                                                             Fax:(707)435-2566

                                                       cddtewer^tolano.c<Hirts.ca.gov




                                                   March 15, 2012

Azael Dythian Perales
P 0 Box 501
Fullerton, CA 92836

Re:      Complaint of March 2012

Dear Mr. Perales:

This letter is to acknowledge receipt of your complaint. Your request will be
reviewed by the Soiano County Grand Jury. Should you have any additional
Information, please forward it for inclusion with ttie complaint file.

Law and policy prohibit the Grand Jury from disclosing any aspect of the inquiry.
Findings and recommendations, If any, may be contained In a final report
published at the end of the fiscal year. Be assured that your Identity will only
be known to the Grand Jury. We are swom to secrecy to ensure confidentiality
of your identity and any information you may supply to us.

Thank you for the opportunity to serve you.

Sincerely,



Wayne Goodman
Foreperson
2011-2012 Grand Jury

WG/cdc
   Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 14 of 35 PageID #: 49




                 Shasta County
                GRAND JURY
                                                                                                    P, 0. BOX 992086
                                                                                            RHDOINO. CA 96099-2086
                                                                                           VOICE MAIL;(530 225-5098




                                                                                    March 16,2012       •

  Mr. Azael Perales
 P.O. Box 501
 Fuiierton, Ca. 92836-0501

 Dear Mr. Perales:


 This letter is to acknowledge receipt of your correspondence received 3-7-12. Thank you for taking the
 time to provide this information to the Grand Jury regarding a matter that concerns you.

 This matter does not fall within the jurisdiction of the Grand Jury as defined In the California Penal Code.

 Based on the California Penal Code, all information and documents submitted with this complaint are
 permanent part of the Grand Jury files and as such may not be released to any entity. Once again,thank
 you for your Interest in government

 Sii^refy,

■ Pat Arnold
 Foreperson
    Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 15 of 35 PageID #: 50




                                        PLACER COUNTY GRAND JURY

                                         11490 C Avenue                    Phone:(530)886-6200
                                         Auburn, CA 95603                    Fax:(530)886-5201
                                                                  Email: grandjury@placer.ca.gov



                                      March 21,2012        -

Azael p.Perales
P:O.Box501
Fullerton,CA 92836-0501

Dear Azael Perales,         ■             .

The Placer County Grand Jury reviewed your complaint and all information that -you
provided us; We determined that the"subject of your request is not within our jurisdiction.
Therefore, the Grand Jury will take no further action.



Sincerely,


 )hn Wilhelm
Foreman
Placer County Grand Jury

A-17

m
Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 16 of 35 PageID #: 51




                                    Del Norte County Grand Jury
                                          450 H Street, Box 1
                                        Crescent City, CA 95531



 March,212012

 Azael D. Perales
 P.O. Box 501
 Fuiiefton.CA 92836-0501

 Dear Azael;

 This letter is to acknowledge receipt of your correspondence dated March 2,2012. Thank you for
 taking the time to provide this information to the grand jury regarding a matter that concerns you.
 Upon completing our review we have determined that no further action will t)e taken as this matter
involves a federal or state agency or institution and the grand jury has no jurisdiction in this matter.
We believe there may be a more appropriate course of action you may take in this,matter. You
 may wish to contact ^e agency involved or seek legal counsel.
Based on the California Penal Code, all information and documents submitted with this complaint
are now a permanent part of the grand jury files and as such may not be released to any entity. ■
Once again, thank you for demonstrating your interest In our local government.
Sincerely,



Ben Cameron, Foreperson
 Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 17 of 35 PageID #: 52




                                 GRAND JURY




 March 22,2012


 Azael Dythian Perales et ai.
P.O. Box 501
 Fullerton, CA 92836


Dear Mr. Perales: '                          -   _

The San Luis Obispo'County Grand Jury has reviewed your complaint received on March
 14,2012. The Grand Jury finds that your complaint falls outside the limits ofits
jurisdiction and therefore we cannot take further action on your request.

Please note that the Jury h^ no authority to investigate federal agencies, state agencies
(other than prisons), state hospitals, private companies or the courts. In addition, the
Grand Jury's scope is limited to investigations ofthe methods, systems and procedures of
those agencies within its purview.                                ■
                                                                  '          ■

Your complaint will be kept on file, and your identity will remain confidential, as well as
any information you may have supplied.

Sincerely,




Norman A. Baxter, Foreperson
San Luis Obispo County 2011-2012 Grand Jury


NB:sm/40




                     ■ Phone:(805) 781-5188 • Fax:(805) 781-1156
                    P.O. Box 4910 • ■ San Luis Ouispo, CAufoknia 93403
                                      www.slocourts.net
        Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 18 of 35 PageID #: 53

Stanii

                ^STANISLAUS COUNTY CIVIL GRAND JURY
                  1^^ Post Office Box 3387•Modesto,California 95353•(209)558-7766•Fax(209)558-8170
Stf>»inq to bm tb» Bast




              March 28. 2012




              Azael Dythian Perales
              P. O. Box 501
              Fullerton, CA 92836

               Dear Mr. Perales

              The Stanislaus County Civil Grand Jury received your complaint dated March 2,
              2012. It was determined that your complaint pertains to matters outside the
              jurisdiction of this grand jury. Therefore, the Stanislaus County Civil Grand Jury
              will take no further action on this matter.

              Sincerely.



               Benny Del Re
               Civil Grand Jury Foreperson
               Fiscal Year 2011-2012
   Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 19 of 35 PageID #: 54




                                        lHariposa Counta ©rand Jurg
                                                                  P.O. Box 789
                                                              Mariposa, California




    KAJrn'OSA. COVSTTY COtTBT BOUSB




March 30, 2012

Azaei Perales
P.O. Box 501
FuUerton, CA 92836-0501




Dear Mr.Perales:

Enclosed is the Mariposa Grand Jury response to your complaint filed 3/18/12. We appreciate your
concerns regarding the operation of government agencies.


Sincerely,



Lawrence D. Walton, Grand Jury Foreman


LDW:rck
    Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 20 of 35 PageID #: 55



Date Received 3/18/12

Complaint: California State Personnel Board
The Complaint aUeges criminal violations contained in California Penal Code,Sections: 137(b),
140(a), 142;(4),145, 146,147,148,148.1,149,151, 153,154,155,155.5,165,166, 181,188,401,
362, and 166.(4). It also alleges violation of California Civil Code Section 52.3(a).
Authorily for Investigation: None

Findings: The complaint addresses a State of California Government Agency. Attached civil documents
indicate defendant as "California State Personnel Board." There are no documents or included
information to indicate any connection to a government agency operatii^ within the confines or
Mariposa County.

Conclusions; This Grand Jury does not have investigativejurisdiction in this matter. California Penal
Code Sections 925-933.6 limit oversi^t of government agencies whose jurisdiction encompasses all or
part ofthe county where the Grand Jury is established.
Recommendations: No Mariposa County Grand Jury involvement in this matter.
Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 21 of 35 PageID #: 56




                                       COUNTY OF KINGS
                                         GRAND JURY
                                      County of Goveranent Ceatet
                                          1400 W. Lftc<y Blvd.
                                          Hanfotd. CA 93230
                                    Tel. No.(SS9) 582-3211 eat. 2892
                                        Fan No.(559)587-9502




 April 3,2012


 Azael Dythian Perales
 P.O. Box 501
 Fullerton, Ca 92836


 Dear Mr.Perales,


 The Kings County Grand Jury of2011-2012 has received your letter of complaint
 dated: March 2,2012. This letter is to notify you that your complaint is being
 reviewed. Please be aware that your concerns will be given full consideration.

 Your complaint number is: 125-1112


 Sincerely,



    ly W. Collins
 Foreperson


 TWC:jkw
      Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 22 of 35 PageID #: 57




                                                            Superior Court of California
                                                                     County of Siskiyou

SISKIYOU COUNTY CIVIL GRAND JURY
P.O.Box 488,Yreka,CA 96097-1026 (530)842-8330 Fax(530)842-8339




                                            April 4. 2012


    Azaei Dythian Perales
     P.O. Box 501
     Fullerton, CA 92836

     Re:   Your Complaint to the Siskiyou County Civil Grand Jury
           Re: California State Personnel Board, et al.


     Dear Mr. Perales:

          This is to let you know that the above complaint, dated March 2,2012, has been
    received by the Siskiyou County Civil Grand Jury(2011-2012).

            Unfortunately, we will not be able to Investigate your complaint. Our investigatory
    jurisdiction is limited to Siskiyou County. The agency you are complaining against is a
    state agency, over which we have no jurisdiction. Your supporting papers list a number
    of other defendants, all of which are either state agencies, another county or the federal
    government.

           I am sorry we will not be able to pursue this matter.

                                       Vw truly yours,




                                       La^ Hdlben
                                       FoKeperson
Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 23 of 35 PageID #: 58




                                               Tulare County Grand Jury
                                                                               5963 South Moon^y Boulevard
                                                                                           Vi8alia,CA 93277

                                                                          (559)62A'1295 • Fax (559) 733'6078




   April 4,2012



   Azael D.Perales
   P.O. Box 501
   Fullerton, OA 92836^0501


   Dear Mr.Perales,

  Please find enclosed your Grand Jury Complaint Form and supporting documents that
  you mailed to the Tulare County Grand Jury. We are returning your documentation back
  to you because this is out of the jurisdiction of Tulare County. We would suggest that
  you send your Complaint Form to your county's grand jtiry or contact your counsel for
  their legal advice.

  Thank you,



  Lino Moran,Foreman
  2011-12 Tulare County Grand Jury




                         gmdj1u7@co.b1Iare.ca.us • wvKW.co.tulare.ca.us
Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 24 of 35 PageID #: 59




                                         County of Santa Cruz
                                                           Grand Jury
                                                    701 Ocean Street, Room 318-i
                                                       Santa Cruz, CA 95060
                                                           (831)454-2099


                                                 April4,2012

A2ael Dythian Perales
P.O.Box 501
FuDertoii, CA 92836

Re: Complaint dated on or about 3/2/12

Dear Mr.Perales:


    Santa Cruz County Grand Jury received your e-mail inquiry on or about March 2,2012 and
determined that the subject ofyour reqi^st is not within ourjurisdiction, diCTefore, no action wffl be
taken.


Law and poHcy prohi)it the Grand Jury from discfosing any aspect ofan inquiry. RecommeiKlations, if
ary, may be contained in the Grand Jury Final Report.

Be assured that your identity will be known onfy to the Grant Jury. We are swom to secrecy to ensure
confidentiality ofyour identity and any information you simply to us.




Foreperson, Santa Cruz County Grand Jury
Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 25 of 35 PageID #: 60




                     P.O. Box 5109 Santa Rosa California 95402(707)565-6330
  April?,2012                       www.sonomagrandjury.org


  Azael Perales
  P.O. Box 501
  Fullerton, CA 92836-0501

  Mr.Perales:

  The topic ofyour complaint received March 27,2012 is not within the jurisdiction ofthe
  Sonoma County Civil Grand Jury. Therefore,the Jury will take no further action on this
  matter.




  Sint^rely,



  Steve Larsen            ^
  Foreperson, Sonoma County Civil Grand Jury
Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 26 of 35 PageID #: 61




  p.a Box 534. Madera.CA 93639
  Tel 559-662-0946
  info@maderagrandjuiy.org


  April 11, 2012


  Azael Dythian Perales
  P.O. Box 501
  Fullerton, CA 92836

  Dear Mr.Perales,

  The Madera County Grand Jury reviewed your complaint and all ofthe information you
  provided. We determined that the subject of your request is not within ourjurisdiction;
  therefore, no action will be taken.                 ,

  Rest assured that your identity will be known only to the Grand Jury. We are sworn to
  secrecy to ensure confidentiality of your identity and any information you supply to us.

  R^ards,


  Ralph Capone
  Foreman,
  2011-2012 Madera County Grand Jury
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              Response to Citizen Complaint filed with the Lassen County Grand Jury



 Date; April 13,2012     •           .

 Complainant's Name: Mr.Azael Perales

 Address: Po Box 501, Fullerton,     92836-0501

 Thank you for submitting your written complaint correspondence to the Lassen County Grand Jury. All
Citizen Complaints are treated as confidential correspondence. All persons who appear before the Civil
Grand Jury or who communicate with the Civil Grand Jury In writing are protected by strict rules of
confidentiality.

Comrriunicatlons frorh the public can provide valuable information to the Civil Grand Jury, which may
prompt an investigation of a government agency. Any citizen may submit concerns regarding
mistreatment,suspicious misconduct or Inefficiencies to the Civil Grand Jury for consideration on a
Citizen Complaint.

The Lassen County Civil Grand Jury, at its discretion, inquires Into citizen complaints regarding
government agencies and officials to identify practices in governrhent that need improvement.The
ultimate goal of the Civil Grand Jury is to improve government|n Lassen County and make public officials
responsive to the people.

Plea^ be advised that;

-Jhe Grand Jury does not investigate all complaints received. Investigations are at the discretion of the
Grand Jury.

-Investigation of your complaint cannot be confirmed; all investigations remain confidential until the
Civil Grand Jury decides to include the findings in the final report.

-Anonymous complaints may not be responded to if the Grand Jury is unable to contact you for
additional information related to the complaint.

-The Grand Jury cannot investigate disputes between individual private parties.




Thank you again for your correspondence to the Lassen County Civil Grand Jury.

              ^_
                    /

Lassen( Jnty Civil Grand Jury foreman. '
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    Monterey County Civil Grand Jury
   P. O, Box 414,SAUNAS,CA 93902 83I/77S-S400 EX 3014


   April 18,2012

   Azeal D Perales
   P. O.Box 501
   Fullerton, CA 92836

   Re; Citizen Complaint

   Dear Mr. PerMes


         Your correspondence of March 2,2012,has been received by the
  Monterey County Civil Grand Juiy. Thanh you for taking the time and maMng
  the effort to bring this matter to our attention. The matter wiU be immediately
  referred to the appropriate committee for review. After reviewing this matter,
  the committee will report back to the fiill Grand Jmy,and the Grandjury as a
   whole will decide whether or not to pursue an investigation
          The Grand Jury is prohibited by law ftom disclosing any aspect ofan
  inquiiy except as published in a final report. Because of this, you will not
  receive any oral or written acknowledgement firom the Grand Jmy as to
  whether an investigation was or was not conducted regarding this matter. If
  additional information is needed, you will be contacted by the Grand Jury. The
  final report is a public document,and is kept on file with the Clerk ofthe
  Superior Court when published.

  Sincerely



  Melissa Duflock
  Foreperson
  Monterey County Qvil Grand Jury
Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 29 of 35 PageID #: 64



                                     Marin County Civil Giand Jury




                                                                                            4/18/12




Azael Perales
P.O. Box 501
Fullerton, CA 92836-0501

Re: Acknowledgment of Request for Investigation by the Ma in County Civil Grand Jury
Dear Azael:

1 am returning your documentation sent to me recently. I pa!ised it by my Legal
department and we all agree that we most likely received thi 3 in error. 1 am returning your
documentation in case you want to send it elsewhere.

 hope your Grand Jury has been as exceptional as ours has            been here in Marin.



Sincerely,




Michael M. Chernock, Foreperson
2011-2012 Mann County CivH Grand Jury
Forepersonn}ike@chBmockassociates.com
Home:415.897.0907
Gel: 415.533.0403




                3501 Civic Center Drive, Room 245, San Rafael, CA 94903 Tel: 415'499-6132
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            CALAVERAS COUNTY GRAND JURY
                                         P.O. Box 1414
                               SAN ANDREAS,CALIFORNIA 95249
                                       Phone 209-754-5860




   May 2, 2012




  Azael Perales
  PO Box 501
  Fullerton, CA 92836

  Re:     Complaint received April 4, 2012
  Dear Mr. Perales:

  This will acknowledge,receipt of your complaint against CA State Personnel Board. The
  Calaveras County Grand Jury will not investigate your complaint as it Is out of our
  jurisdiction.

  Sincerely,



  Dan McPherson
 Foreperson, Calaveras County 2011-2012 Grand Jury
   Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 31 of 35 PageID #: 66


GRAND ^JURY
SANtA OLAUA yVjif'COt'KIS




                 a




                                                    May 3, 2012




     Azael Dythian Perales
     P.O. Box 501
     Fullerton, CA 92836

     Dear Azael Kythian Perales:

    The 2011-2012 Santa Clara County Civil Grand Jury has considered the matter of your
    complaint dated March 2, 2012. It is the judgment of the Grand Jury that the topic of
    your complaint is not properly within its province. Accordingly, the Grand Jury is taking
     no further action.



                                                                Sincereh




                                                                 CATHRYN G. JANOFF
                                                               Foreperson
                                                               2011-2012 Civil Grand Jury




    KGJ:dsa




        Sui'EraoRCouKrBuii-DrNG • 191 Noimi FIKSTS^R/-:E^,5A^■Jcw;,Cauwwma93113   (4(18)6^2-272i   Fax.8S2-2795
Case 5:17-cv-05059-JLV Document 4-1 Filed 07/24/17 Page 32 of 35 PageID #: 67


                              GRAND JURY
                               County of Yolo
                                     P.O.Box2142
                             Woodland, California 95776



   May 3,2012



   Ms.Azael Perales
   P.O. Box 501
   Fullerton,CA 92836-0501



   Dear Ms,Perales,


   On behalfofthe Yolo,County Gr^d Jujy,t|dy$                receipt ofyour
   complaint.

   We appreci& YotuvinfeeM^to^Camdtfdi^j^ce^^oAy^^r,^^                   only



   The confideiM       rpiiFXOire^




   Sincerely,



                ison

   Foreperson,2011-2012




                                 phone;530-406-5088
                          e-mail: grand-jury@sbcglobal.net
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     I                   County


 ^ I Alpine County Grand Jury          ;| P.O. Box
,-—>
  -^1 RtiH-n County Grand Jury         I'P.O. Box 110                          195965-3344




          clusa County Grand Jury      1532 Oak Street


         Del Norle County Grand Jury




                     y Grand Jury       1100 Van Ness, Rm. 10^



                         Grand Jury    825.Flfttv^reeSfv         T


—7                                      p.t^;Box 46f:5':®=>

                                       P. O. Box 1562                Hanfora
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^ ""^ jwapa Caun';y Grand Jury                  |p.O. Box 5397          .aeass'UttCEEaa
        •I" ■ ,t■ • .    s*"», ■• _

        Orange County Grand Jury                 700 Civn                 Santa Ana




 •—^1piyrnas Gouh^ Grai^ Jury




    SSSSSBS^SSBS
        San Francisco County Grand Jury          400 McAlister Street    Isan Francisco
                                                                            m

   -^.jsan Luis ObiSpo County Grand Jury        fp.C. Box 4910      '    jsan Luis Obispo |93403




        Stanislaus County-Grand Jury
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